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EXHIBIT A
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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

If You Bought A Cathode Ray Tube Product,
A Class Action Settlement May Affect You.

Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
contain a Cathode Ray Tube such as Televisions and Computer Monitors

A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

e There is a lawsuit pending involving CRT Products purchased indirectly from the Defendants
set out below. “Indirect” means that you did not buy the CRT Product directly from any
Defendant. The lawsuit, which is brought as a Class Action, seeks: (a) nationwide injunctive
relief to prohibit the Defendants’ (listed below) behavior that is the subject of the lawsuit and
(b) money for indirect purchasers in 24 states.

e The states receiving money include: Arizona, California, Florida, Hawaii, [llinois, Iowa,
Kansas, Maine, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Mexico, New
York, North Carolina, North Dakota, Oregon, South Dakota, Tennessee, Vermont, West
Virginia, Wisconsin, and the District of Columbia.

« A Settlement has been reached with Chunghwa Picture Tubes Ltd. (called the “Settling
Defendant”). The litigation is continuing against the remaining Non-Settling Defendants.

e Your legal rights are affected whether you act or don’t act. This Notice includes information
on the Settlement and the continuing lawsuit. Please read the entire Notice carefully.

You can object or comment on the Settlement see Question 11

You may also exclude vourself from the Settlement see Question 11

You may go to a hearing and ask the Court to speak see Question 15
about the Settlement vourself

e The Court in charge of this case still has to decide whether to approve the Settlement. The
litigation against the Non-Settling Defendants is moving towards trial.

For More Information: Call 1-800-000-0000 or Visit waww.CRTsettlement.com
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BASIC INFORMATION

[4. Why is there a notice? ) |

You have the right to know about the litigation and about your legal rights and options before the
Court decides whether to approve the Settlement.

The Court in charge of the case is the United States District Court for the Northern District of
California, and the case is called Jn re Cathode Ray Tube (CRT)) Antitrust Litigation, MDL No.
1917. The people who sued are called Plaintiffs and the companies they sued are called
Defendants.

[ 2, Who are the Defendant companies? |

The Defendant companies include: LG Electronics, Inc. LG Electronics U.S.A., Inc., LG
Electronics Taiwan Taipei Co., Ltd, Koninklijke Philips Electronics N.V., Philips Electronics North
America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia Industria
Electronica Ltda., LP Displays International, Ltd. f/k/a LGPhilips Displays, Samsung Electronics
Co., Lid., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc.,
Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd.,
Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd., Toshiba Corporation, Toshiba
America, Inc., Toshiba America Consumer Products, LLC., Toshiba America Information Systems,
Inc., Toshiba America Electronics Components, Inc., Panasonic Corporation f/k/a Matsushita
Electric Industrial, Ltd., Panasonic Corporation of North America, MT Picture Display Co., Ltd.,
Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi, Ltd., Hitachi Displays, Ltd.,
Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung
Company of America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia)
Sdn. Bhd., IRICO Group Corporation, IRICO Display Devices Co., Lid., IRICO Group
Electronics Co., Ltd., Thai CRT Company, Ltd., and Samtel Color, Ltd.

[3.. What is this lawsuit about? - =

The lawsuit claims that the Defendants conspired to fix, raise, maintain or stabilize prices of CRT
Products resulting in overcharges to consumers who bought CRT Products such as Televisions and
Computer Monitors. The Defendants deny that they did anything wrong. The Court has not
decided who is right.

[ 4. Why is there a Settiement but the litigation is continuing?

Only one of the Defendants has agreed to settle the lawsuit. The case is continuing against the
remaining Non-Settling Defendants. Additional money may become available in the future as a
result of a trial or future settlements, but there is no guarantee that this will happen.

[ &. What is a Cathode Ray Tube (CRT) Product? i

For the purposes of the Settlement, Cathode Ray Tube (CRT) Products means Cathode Ray Tubes
of any type (e.g. color display tubes, color picture tubes and monochrome display tubes) and
finished products which contain Cathode Ray Tubes, such as Televisions and Computer Monitors.

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| 6. What is a class action? |

In a class action, one or more people, called class representatives, sue on behalf of people who
have similar claims. All these people are a class or class members, except for those who exclude
themselves from the class.

If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be
notified about how to ask for a share or what your other options are at that time. These things are
not known right now. Important information about the case will be posted on the website,
www.CRTsettlement.com, as it becomes available. Please check the website to be kept informed
about any future developments.

THE SETTLEMENT CLASS

[ 7. How do | know if fam one of the Settlors? “]

The Settlors includes any person or business that indirectly bought in the U.S. (excluding claims
under the Washington Unfair Business Practices and Consumer Protection Act) from March 1,
1995 through November 25, 2007, any CRT Product made by the Defendants. Both consumers
and resellers are included in the Settlement Class.

8. Why does the Settlement exclude claims under the Washington Unfair Business
Practices and Consumer Protection Act?

Based on a motion by the Washington Attorney General, the court in this case has determined that
the settlement may not release claims under the Washington Unfair Business Practices and
Consumer Protection Act because only the Washington Attorney General may release those claims.

[ 9. What does the Settlement provide? i 1

The Settlement provides for the payment by Settling Defendant of $10,000,000 in cash, plus
interest, to the Settlors. It also provides that the Settling Defendant will furnish information about
the case, including other defendants’ involvement in the alleged conspiracy, to Class Counsel.
Finally, it provides that part of the $10 million settlement fund may be used to pay expenses
incurred in the litigation.

More details are in the Settlement Agreement, available at www.CRTsettlement.com.

[ 40. When can | get a payment? _!

No money will be distributed to Settlors yet. The lawyers will pursue the lawsuit against the Non-
Settling Defendants to see if any future settlements or judgments can be obtained in the case and
then be distributed together to reduce expenses. It is possible that money will be distributed to
organizations who are, as nearly as practicable, representative of the interests of indirect
purchasers of CRT Products instead of Settlors themselves if the cost to process claims would
result in small payments to Settlors. Regardless of whether the money is distributed to
organizations or the Settlors themselves, the money will first be allocated amongst the 24 states
listed on page 1 of this notice, so that each state receives its pro rata share. Each state’s pro rata

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share shall be determined by computing its population as a percentage of the total population of all
24 states using census figures from the year 2000.

[ 14. What are my rights in the Settlement? |

Remain in the Settlement: If you wish to remain a participant in the settlement you do not need
to take any action at this time.

Get out of the Settlement: If you wish to keep your right to sue the Settling Defendant about the
claims of the class in this case, you must exclude yourself. You will not get any money from this
Settlement if you exclude yourself from the Settlement.

To exclude yourself from the Settlement, you must send a letter that includes the following:
® ‘Your name, address and telephone number;
e A statement saying that you want to be excluded from Jn re Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917, Chunghwa Settlement; and
e Your signature.

You must mail your exclusion request, postmarked no later than Month 00, 2011, to:

CRT Class Action
BO. 0000
City, ST 00000

Remain in the Settlement and Object: If you have comments about, or disagree with, any aspect
of the Settlement, you may express your views to the Court by writing to the address below. The
written response needs to include your name, address, telephone number, the case name and
number (Jn re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief explanation
of your reasons for objection, and your signature. The response must be postmarked no later than
Month 00, 2011 and mailed to:

COURT i INTER! LEAD COUNSEL | DEFENSE COUNSEL
Honorable Charles A. Mario N. Alioto Joel S. Sanders
Legge (Ret.) Trump, Alioto, Trump & Gibson Dunn & Crutcher
JAMS Prescott LLP LLP
Two Embarcadero, Suite 2280 Union Street 555 Mission Street, Suite
1500 San Francisco, CA 94123 3000
San Francisco, CA 94111 San Francisco, CA 94105

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| 12, What am | giving up to stay In the Settlement? |

Unless you exclude yourself from the Settlement, you can’t sue Settling Defendant, continue to
sue, or be part of any other lawsuit against Settling Defendant about the legal issues in this case. It
also means that all of the decisions by the Court will bind you. The “Release of Claims” includes
any causes of actions asserted or that could have been asserted in the lawsuit, as described more
fully in the Settlement Agreement. The Setthement Agreement is available at
www.CRTsettlement.com.

{.13._ When and where will the Court decide whether to approve the Settlement? |

The Court will hold a Fairness Hearing at <Time> on Month 00, 2011, at JAMS, Two
Embarcadero, Suite 1500, San Francisco, CA 94111. The hearing may be moved to a different
date or time without additional notice, so it is a good idea to check www.CRTsettlement.com. At
this hearing the Court will consider whether the Settlement is fair, reasonable and adequate. The
Court will also consider Interim Lead Class Counsel’s request for payment of $2.5 million from
the Settlement Fund to be used for expenses incurred in this case. If there are objections or
comments, the Court will consider them at that time. After the hearing, the Court will decide
whether to approve the Settlement. We do not know how long these decisions will take.

| 14. Do | have to come to the hearing?

No. Interim Lead Class Counsel and the Attorneys General of Illinois and Oregon will answer any
questions the Court may have. But you are welcome to come at your own expense. If you send an
objection or comment, you don’t have to come to Court to talk about it. As long as you mailed
your written objection on time, the Court will consider it. You may also pay another lawyer to
attend, but it’s not required.

| 18. May I speak at the hearing? |

If you want your own lawyer instead of Interim Lead Class Counsel or the Attorneys General of
IHinois and Oregon (if applicable} to speak at the Final Approval Hearing, you must give the Court
a paper that is called a “Notice of Appearance.” The Notice of Appearance should include the
name and number of the lawsuit (in re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No.
1917), and state that you wish to enter an appearance at the Fairness Hearing. It also must include
your name, address, telephone number, and signature. Your “Notice of Appearance” must be
postmarked no later than Month 00, 2011. You cannot speak at the Hearing if you previously
asked to be excluded from the Settlement.

The Notice of Appearance must be sent to the addresses listed in Question 11.

THE LAWYERS REPRESENTING YOU

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(16. Do i have a lawyer in this case?

The Court has appointed Mario N. Alioto of Trump, Alioto, Trump & Prescott LLP as “Interim
Lead Class Counsel” to represent members of the Settlement Class. The Settlement Class is
defined in Paragraph 1 of the Order Granting Preliminary Approval of Class Action Settlement

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with Defendant Chunghwa Picture Tubes, Ltd., which is available at www.CRTsettlement.com. If
you are a resident of Illinois or Oregon, you are a member of the Settlement Class but are
represented by the Attorney General of your state with respect to your claims under those states’
antitrust laws.

[47. How will the lawyers be paid? |

You do not have to pay Interim Lead Class Counsel. If you want to be represented by your own
lawyers, and have that lawyer appear in court for you in this case, you may hire one at your own
expense. Ata future time, Interim Lead Class Counsel will ask the Court for attorneys’ fees not to
exceed twenty five percent (25%) of the $10,000,000 Settlement Fund plus reimbursement of their
costs and expenses, in accordance with the provisions of the Settlement. Interim Lead Class
Counsel may also request that an amount be paid to each of the Class Representatives who helped
the lawyers on behalf of the whole Class.

PURCHASE RECORDS

12. What steps should I take to demonstrate evidence of purchase/ownership of a CRT
Product?

If you have purchase receipts, invoices or any other proof of purchase of any CRT Product, please
retain those documents. If you presently have a CRT Product, please keep it if at all possible. If
you are unable to do so, please photograph the front and rear of the CRT Product including any
brand name and record the model number, serial number, size and any other information which
you believe will help identify the manufacturer of the CRT Product.

GETTING MORE INFORMATION

| 19. How do I get more information?

This Notice summarizes the lawsuit and the Settlement. You can get more information about the
lawsuit and Settlements at www.CRTsettlement.com, by calling 1-800-000-0000, or writing to
CRT Class Action, P.O. 0000, City, ST 00000. Please do not contact JAMS or the Court about this
case.

For More Information: Call 1-800-000-0000 or Visit www.CRTsettlement.com
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